            Case 5:20-cr-00240-F Document 258 Filed 10/25/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA
                                                                NOTICE
       vs
                                                       Case Number: CR-20-240-1-F
BOBBY CHRIS MAYES                                      USM Number: 09413-509

Defendant is detained at Logan County.


Type of Case                                            X    CRIMINAL


TAKE NOTICE
That a proceeding in this case has been scheduled for the place, date and time set forth below:

Place: U.S. Courthouse                                      DATE AND TIME
       Courtroom #401
       200 N.W. 4th Street                                  October 26, 2022, at 2:00 p.m.
       Oklahoma City, OK 73102

All attorneys and other persons entering the U.S. Courthouse will be required to show valid photo
identification to the court security officer.


TYPE OF PROCEEDING:                                         BOND REVOCATION HEARING


TAKE NOTICE: that the proceeding in this case was previously scheduled as indicated below:

Place: U.S. Courthouse                               Date and Time Previously Scheduled
       200 N.W. 4th Street
       Oklahoma City, OK 73102


                                                             JUDGE STEPHEN P. FRIOT

October 25, 2022
Date                                                            s/ Lori Gray
                                                               BY DEPUTY CLERK

AUSA (Snyder)
Vicki Z. Behenna, W. Brett Behenna, Rachel N. Jordan, William H. Bock, Michelle L. Greene
USM
USPO
